In brief on application for rehearing, counsel call attention to the case of Eugene B. Henry, Commissioner of Licenses of Jefferson County v. State ex rel. Birmingham Water Works (Ala. Sup.) 161 So. 494, which cause was pending on application for rehearing when the original opinion in this cause was announced. It is insisted the two cases are identical on all points of merit, yet the results are wholly different.
The two decisions are in entire harmony on the main question, viz.: That license taxes are delinquent after October 31st, and *Page 660 
that, if a written report of delinquency be filed by the license inspector with the commissioner of licenses on November 1st, before application is made for license with offer to pay such tax, or, if by mail, before such application with accompanying check reaches the office of the commissioner of licenses, the penalty attaches, and license should not issue without payment thereof.
But, in view of the fact that the Birmingham Water Works Case turned on a question of pleading, we deem it proper to differentiate this case on that point.
The full averments of the petition touching a report of the license inspector, are as follows: "Your petitioner further avers upon information and belief, and upon information and belief, states as a fact that on the 1st day of November, 1934, R. G. Mushat, as License Inspector of Jefferson County, Alabama, notified the said Eugene B. Henry, as Commissioner of Licenses of Jefferson County, Alabama, in writing, that your petitioner was delinquent in the payment of the licenses hereinabove set out."
Touching the reason given for demanding payment of the penalty, the petition exhibits a letter written by the commissioner responding to a second tender in lawful money, not including the penalty, saying: "I hereby decline to accept the above tender and to issue the licenses requested on the grounds that the check delivered to me on the 1st day of November did not include fifteen per cent penalty required by law and this tender is refused for the same reason, the license inspector having notified me in writing as required by law of your delinquency."
It is apparent these facts differentiate this case from the Birmingham Water Works Case, supra.
We adhere to the view, that, with above averments in the petition, it was upon petitioner to negative the fact of a report of delinquency in writing duly filed, etc.
A petition for mandamus must disclose a clear legal right to have done the official act which he seeks to coerce. Public officials are presumed to be acting in the line of duty, and a failure of duty must be averred as ground for mandamus.
The application for rehearing is overruled.
All the justices concur, except KNIGHT, J., not sitting.